     Case 2:23-ap-01228-WB   Doc 30 Filed 12/21/23 Entered 12/21/23 13:29:52          Desc
                              Main Document Page 1 of 2


1    LEONARD PEÑA (State Bar No. 192898)
     JULIE A. SOMA (State Bar No. 180170)
2    lpena@penalaw.com                                      FILED & ENTERED
3    PEÑA & SOMA, APC
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4    Pasadena, California 91101                                   DEC 21 2023
     Telephone (626)396-4000
5    Facsimile (626)498-8875                                 CLERK U.S. BANKRUPTCY COURT
                                                             Central District of California
6                                                            BY kaaumoanDEPUTY CLERK
     Attorneys for Plaintiff
7    Carolyn A. Dye, Chapter
     7 Trustee
8
9                         UNITED STATES BANKRUPTCY COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                             LOS ANGELES DIVISION
12
13   In re:                               ) Case No. 2:21-bk-13523 WB
                                          )
14   URBAN COMMONS, LLC,                  ) Chapter 7
                                          )
15              Debtor.                   )
16                                        ) Adv. No. 2:23-ap-01228 WB
     CAROLYN A. DYE, Chapter 7            )
17   Trustee,                             ) ORDER DENYING MOTION FOR
                                          ) JUDGMENT ON THE PLEADINGS
18              Plaintiff,                )
                                          ) Date: December 12, 2023
19
     v.                                   ) Time: 2:00 PM
20                                        ) Place: Courtroom 1375
     UNITED OVERSEAS BANK LIMITED,        ) Roybal Federal Building
21                                        ) 255 E. Temple Street
                Defendant.                ) Los Angeles, CA 90012
22
                                          )
23
24        Defendant United Overseas Bank Limited’s Motion For
25   Judgment On The Pleadings (“Motion”) was duly presented to the
26   Court. The Court considered the Motion, the opposition, the
27   reply, and counsel’s arguments.        Appearances are noted on the
28   Court record.    The Court is thus fully informed.



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1         For the reasons stated on the record at the hearing, it It
2    is hereby ordered that the Motion is denied.
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25       Date: December 21, 2023

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